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                                                                   9
                                                                                                  UNITED STATES DISTRICT COURT
                                                                  10

                                                                  11                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                  12                                    SAN JOSE DIVISION
Gallo LLP




                                                                  13   RYAN CORLEY, et al.,                         Case No. 5:16-cv-00473-LHK
                                                                                                                    Hon. Lucy H. Koh
                                                                  14                      Plaintiffs,
                                                                  15   v.                                           NOTICE OF SETTLEMENT OF CLAIMS
                                                                                                                    OF 702 PLAINTIFFS
                                                                  16   GOOGLE INC., et al.,
                                                                  17                      Defendants.
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                                                                   1
                                                                              Plaintiffs Ryan Corley, et al. (collectively “Plaintiffs”) hereby notify the Court
                                                                   2
                                                                       that 702 Plaintiffs in this action have finalized their settlements with Google per the
                                                                   3
                                                                       parties’ agreement reached at the June 2016 mediation and shortly will dismiss their
                                                                   4
                                                                       claims in this action with prejudice.
                                                                   5
                                                                              Two Plaintiffs—Eudald Corrieg Fraga and Liban Adan—have neither settled
                                                                   6
                                                                       their claims nor authorized or directed Plaintiffs’ counsel to re-file their cases to avoid
                                                                   7
                                                                       dismissal pursuant to this Court’s August 19, 2016 order (ECF No. 134).
                                                                   8
                                                                              RESPECTFULLY SUBMITTED,
                                                                   9
                                                                       Dated: October 3, 2016                  GALLO LLP
                                                                  10

                                                                  11
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                                                                  12                                           By:     /s/ Ray E. Gallo
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                                                                                                                       Ray E. Gallo
                                                                  13                                                   Attorneys for Plaintiffs
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